LSI CULMiALeg item cela cHice a 7o] Laer ioe

Debtor1 CHERYL ANN GUSTAFSON
First Name Middle Name Lasi Name
Dablor 2
(Spouse, if filing) Fast tame Middle Rame Last Name
United States Bankruptcy Court for the: District of New Mexico [=|
Case number
(if known)

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

(2 Check if this is an
amended filing

12/18

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executery contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 166A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule DB: Creditors Who Have Ciaims Secured by Property. lf more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

ee All of Your PRIORITY Unsecured Claims

1. Bo any creditors have priority unsecured claims against you?

{For an explanation of each type of claim, see the instructions for this form in the Instruction booklet.)

lid No, Go to Part 2.
Yes.

List all of your priority unsecured claims. If'a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim it is. Ifa claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. Ifyou have more than two priority
unsecured claims, fill cut the Continuation Page of Part 1. f more than one creditor holds a particular claim, list the other creditors in Part 3.

Pri a

’ “Total claim Nonpriority
amount amount :
24 Blank
Last 4 digits ofaccount number
Priority Creditor’s Narne
When was the debt incurred?
Nomber Street
As of the date you file, the clair is: Check all that apply.
ay Sie AP Cade CF Contingent
CI untiquidated
Who incurred the debt? Check one. O bisputes
(2 vebtor 4 only
LI) Debtor 2 only Type of PRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only OI Domestic support obligations
Atleast one of the debtors and another C) Taxes and certain other debts you owe the government
C) Check if this claim is for a conmnunity debt C1 Claims for death or personal injury while you were
Is the claim subject to offset? intoxicated
CI no CI other. Specify
OQ) ves
[22 Blank Last 4 digits of account number ee
: Priority Creditors Name
When was the debt incurred?
Number Sireat
As of the date you file, the claim is: Check all that apply.
Q Contingent
Gy State“ ZP Cede O untiquidated
Who incurred the debt? Check ona. O) disputes

CY Destor + only

(J Debtor 2 only

(2 Debtor 1 and Debtor 2 only

Lad At feast one of the debtors and another

(1 Check if this claim is for a community debt

Is the claim subject to offset?
C} No

Type of PRIORITY unsecured claim:
C pomestic support obligations

() taxes and certain other debts you owe the government

1) claims for death or personal injury while you were
intoxicated
Ql Other. Specify

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bebtor1 CHERYL ANN

GUSTAFSON

First Name Hidde Name Last Name

List Ali of Your NONPRIORITY Unsecured Claims

Case number gimewn}

. 3. Do any creditors have nonpricrity unsecured claims against you?

(J) No. You have nothing to report in this part, Submit this form to the court with your other schedules.

Yes

. 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each elaim. If a creditor has more than one
: nonpriority urisecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim itis. Do not list claims already
included in Part 1. If more than one creditor holds a particular claim, list the other creditors in. Part 3.1f you have more than three nonpriority unsecured

claims fil out the Continuation Page of Part 2. .

_ Total claim.»
bt] MHP TWO, LLC Last 4 digits of account number 7 6 4 3
Nonprority Creditor’s Name $ 600.0 0 --
6301 ALAMEDA BLV NE When was the debt incurred? 04/01/2017
Number Street ‘
ALBUQUERQUE NM 87113
Ghy State iP Code As of the date you file, the claim is: Check ail that apply.
' a Contingent
Who incurred the debt? Check one. CJ unliquidated
if Debtor 1 only CJ oisputed
CJ Bebtor 2 only
E.} Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
€J At feast one of the debtors and another Student loans
+f Shi om i : ( Obligations arising out of a separation agreement or divorce
() check if this claim is for a cornmunity debt that vou dil not Poort a piicety clair
Is the claim subiect to offset? {J Debts to pension or profit-sharing plans, and other similar debts
No @ otrer. Specty LOT RENT BARTER PAY 0.00
Q Yes
l4.2| T-MOBILE Last 4 digits of accountnumber 4 0 7 8 $ 216.00
Nonpriority Creditor’s Nama When was the debt incurred? 03/20/2020
12920 NE 38TH STREET
Nutsber Sheat
BELLVUE WA 98006 As of the date you file, the claim is: Check all that apply.
City Siste ZIP Code 2 consi ngent
Who incurred the debt? Check one. C) untiquidated
4 Debtor 1 only CJ Disputed
{Debtor 2 only :
(2 bebtor 4 and Debtor 2 only Type of NONPRIORITY unsecured claim:
(At least one of the debtors and another OQ student loans
CI Obligations arising out of tion agreement or diverce
CJ Check if this claim is for a community debt that vou did not feport as phony caine * ra
Is the claim subject to offset? {1 Debts to pension or profit-sharing plans, and other similar debts
No @ other Specity MONTHLY PHONE BILL
ves
4.3] PARAMOUNT+ Last 4 digits of accountnumber 7 6 4 3. § 41.99
: Nonpriority Creditor's Name Me emsnnrenainitie ean *
When was the debt incurred? _01/12/2019
ONE ASTOR PLAZA MIDTOWN MANHATTAN
Number Street
NEW YORK CITY NY 40036 :
Bay Sale FP Cade As of the date you file, the claim is: Check all that apply.

Who incurred the debt? Check one.

fd Debtor 4 only

CJ Debtor 2 only

(3 Debtor 1 and Debtor 2 only

(3 At least one of the debters and another

{4 Check if this claim is for a community debt

is the claim subject to offset?
af No
QO yes

(J contingent
OF unliquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

CY student loans

a Obligations arising out of a separation agreement or divorce
that you did not report as priority Gains -

1 pebts to pension or profit-shating plans, and other similar debts

(if other, Specity TV STREAMING MONTHLY

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debtor? CHERYL ANN

GUSTAFSON

First News Middle Name Last Name

Case number ut known)

Your NONPRIORITY Unsecured Claims — Continuation Page

. After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

Total claim

44 Celt) . : 4422
: etic Bank / Continental Finance
; Last 4 digits of account number ee $847.00
Nonpriosty Creditors Name 4/8/2022
268 S Street St. Suite 300 When was the debt incurred? “VO/MEUES
reall Lake City UT 841114 As of the date you file, the claim is: Check all that apply.
Gay Stale ZIP Code {1 Contingent
a Unliquidated
Who incurred the debt? Check one. () Disputed
4 Debtor 1 only
L} Debtor 2 only Type of NONPRIORITY unsecured claim:
CI Debtor 1 and Debtor 2 only Student oans
C1) Atieast one of the debtors and another a Obfgations arising out of a separation agreement or divorce that
oS dda? we : you did not report as priority claims
Cl) Chock if this claim is for a community debt (J Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? f@ oiner. Specify CREDIT CARD
BY No
2 ves
LI ‘ “BLANK Last 4 digits of account number J ~ g
None red” oe .
When was the debtincurred? =
Nur Sire oe,
As of the date you file, the ciaim is: Check all that apply.
Giy State ZIP Code C4] Contingent
(2 Untiquidated
Who incurred the debt? Check one. oO Disputed
7A Debtor t only
C) Gebtor 2 only Type of NONPRIORITY unsecured claim:
(2 Debtor t and Debtor 2 only (2 Student loans .
td At least one of the debtors and another Cl Obagations atising out of a separation agreement or divorce that
pape not ; you did not report as priority claims
OF Check if this claim is for a community debt (J Debts to pension | or wn ~haring mans. and other similar debts
Is the claim subject to offset? “E other, Specify >.
OS ate
(3 ves
14.5] 0895 $_ 627.00 —
COMENITY BANK AVAYFAIR CARD Last 4 digits of account number
Nonntonity Greditars Name : » atfi2018
3095 LOYALTY CIRCLE BUILDING A When was the debtincurred?
"COLUMBUS OH 432419 As of the date you file, the claim is: Check alt that apply-
cy State ZIP Code C) contingent
@ Untiquidated
Who incurred the dehi? Check one. OC pisputed

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4% Debtor 1 only

CI Debtor 2 oniy

( Debtor 1 and Debtor 2 only

{I At least one of the debtors and another

{J Check if this claim is for a community debt
Is the claim subject to offset?

® No
U Yes

Type of NONPRIORITY unsecured claim:

CF student foans

C} Obligations arising out of a separation agreement or divorce that
you did not repart as priority claims.

QO debts to pension or profit-sharing plans, and other similar debts

1 other. Specity, CHARGE CARD

20
Debtor t

CHERYL ANN

First Nata Middle Name Last Name

GUSTAFSON

Case number tznann)

Your NONPRIORITY Unsecured Claims — Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

C) Debtor + and Debtor 2 only
CI at least one of the debtors and another
Cl Check if this claim is for a community debt

is the claim subject to offset?

GBwo
C2 ves

-Totakelaim. |
4.6 Capital One NA Last 4 digits of account number APSO — § 419.00 —
Nonpriarity Creditors Name
POB 30285 When was the debt incurred? 8/23/2023
N
eat Lake City UT 84130 As of the date you file, the claim is: Check all that apply.
City State @P Code 3 Contingent
CI untiquidated
Who incurred the debt? Check one, ] Disputed
G Debtor 4 only
CI debtor 2 only Type of NONPRIORITY unsecured claim:
(J Debtor 1 and Debtor 2 only CI student loans
(} At teast one of the debtors and another LJ Obligations arising out of a separation agreement or divome that
se ant oe you did noi report as priority claims
CI Check if this claim is for a community debt LJ ebts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? BI other. Specity Credit Card
8) No
Cd Yes
4.7
4-7] FEB DESTINY Last 4 digits of account number __5900 ee 5 267.00
jority Creditors N
“POR. iA 6a. AATT When was the debt incurred? 7128/2022
"BEAVERTON OR 97076 As of the date yau file, the claim is: Check all that apply.
ity Stata WP Code C1 Contingent
C2 unliquidated
Who incurred the debt? Check one. CF pisputed
GY Debtor 4 only
{9 debtor 2 only Type of NONPRIORITY unsecured claim:
(2 Debtor 1 and Debter 2 only (2 studentioans .
() At least one of the debiors and another (2 obligations arising out of a separation agreement or divorce that
te ete oy . you did not report as priority claims
Ld Check if this claim is for a community debt [2 Debts to pension or profit-sharing plans, and other similar debts
is the claim subject to offset? X) other. Specity CREDIT CARD
a No
] Yes
$1249.00 |
Capital One NA Last 4 digits of account number UR nee an
Nonpronty Creditors Name
POB 20285 When was the debt incurred? 6/20/2023
Se it Lake | City UT 84130 As of the date you file, the claim is: Check all that apply.
City Slate ZIP Cade W Contingent
Uniiquidated
Who incurred the debt? Check one. oO Disputed
G Debtor 4 onty .
(a Debtor 2 onty Type of NONPRIGRITY unsecured claim: :

CJ Student toans

tl Obtgations arising out of a separation agreement or divorce that
you did not report as priority claims ‘

(2 Debts to pension or profit-sharing plans, and other similar debts

Other. Specify Credit Card

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debtor? CHERYL ANN

Fired Name Middle Name Last Name

GUSTAFSON

Case number iowa}

Your NONPRIORITY Unsecured Claims — Continuation Page

. After listing any entries on this page, number them beginning with 44, followed by 45, and so forth, Total clair.

4.9! FSB BLAZE

9385

Last 4 digits of account number 3! 422.00 —
Nonpriority Creditor's Name
5501 S BROADBAND LN When was the debt incurred? 3/14/2016
Numher Street ~
SIOUX FALLS SD 57108 As of the date you file, the claim is: Check all that apply.
City Slate AP Code C3 contingent
Cl unliquidated
Who incurred the debt? Check one, a Disputed
& Dentor 1 only '
(J debtor 2 only Type of NONPRIORITY unsecured claim:
a Deblor 1 and Debtor 2 only [student leans
At least one of the debtors ayd another CJ Obligations arising out of a separation agreement or divorce that
CF Check if this claim is for a community debt one dic not report as priority claims
Debts to pension or orofit-sharing plans, and other similar debts
ts the claim subject to offset? LE other. Specify CREDIT CARD
Gt No
Ol ves
10
b.t0] JPMCB CARD Last 4 digits of account number 1234— ee 3 4893.00 |
Nonpriority Creditor's Name 8/4, 17
POB 15369 When was the debt incurred? 14120
Number 5 ‘
WILMINGTON DE 19850 As of the date you file, the claim is: Check alt that apply.
Cily State “iP Code C2 contingent
(2 unliquidated
Who incurred the debt? Check ons. CO) oisputed
W Debtor 4 only
CF debtor 2 only Type of NONPRIORITY unsecured claim:
CI] Debtor t and Debtor 2 only C1 student loans
C] At east one of the debtors and another Cj Obligations arising out of a separation agreement or divorce that
C} . laira i . you did not neport as priority claims
Check if this claim is for a munity debt (9 Debts to pension or profit-sharing plans, and other similar debis
is the claim subject to offset? Kl other. Specify CREDIT CARD
GH No
CI Yes
b4 3 691.00 -
GS BANK USA -GENERAL MOTORS Last 4 digits of account number __ > 06 3 rr

900 WEST STREET

Number Street
NEW YORK NY 10282
City State ZIP Code

Who incurted the debt? Check one.

Debtor 1 only

C2 Debtor 2 only

(J Debter 1 and Debtor 2 only

C} At least one of the debtors and another

() Check if this claim is for a community debt
Is the claim subject to offset?

@ No
(2 ves

wheawas no cetincurese 7/25/2015,

As of the date you file, the claim is: Check ail that apply.

CJ Contingent
1 Unliquidated
(} pisputed

Type of NONPRIORITY unsecured claim: .

(LE Student ioans

Cl Obligations arising aut of a separation agreament or divorce that
you did not report as priority claims ‘

(2 Debts to pansion or profit-sharing plans, and other similar debts

@& otter. spect, CREDIT CARD

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Debtor 7

CHERYL ANN

GUSTAFSON

First Alame fticdle Mame

Last Name

Case number (known

Your NONPRIORITY Unsecured Claims — Continuation Paye

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

Total claim -
4.12 . : 2637
GEICG Last 4 digits ofaccount number ££ 0 Of $ 202.07
Nonpriority Creditor's Name
PO BOX 9615 When was the debt incurred? 06/22/2024
Meee mpi As of the date you file, the claim is: Check aif that
FREDERICKSBURG VA 22403 of the date you file, the claim is Check afi that apply.
Gily Sista ZIP Code (Contingent
Q] Unliquidated
Who incurred the debt? Check one. go Disputed
Ga Debtor 4 only '
3 Debtor 2 only Type of NONPRIORITY unsecured claim:
CJ Debtor 4 and Debtor 2 only ) Student ioans
CI At feast one of the debtors ang another (2 Obdkgations arising out of a separation agreement or divorce that
; se . you did not repert as priority claims
C} Check if this claim is for a community debt to pension or sharing plans, and other similar debts
Is the claim subject to offset? w Other. Specify DAUGHTERS CAR INSUR
W no
CF ves
4.1 3|
PNM Last 4 digits of account number 5 2 3 8 $ 150.00. —
Nonpriority Creditors Narne
PO BOX 27900 When was the debt incurred? 09/01/1993
Number Street ‘ :
if inn is:
ALBUQUERQUE NM 87125 As of the date you file, the clatrn is: Check al that apply.
Ciy State ZP Code (9D Contingent
(9 Unliquidated
Who incurred the debt? Check ane. g Disputed
id Debtor +t only
(9 Debtor 2 only Type of NONPRIORITY unsecured claim:
C3 Debtor 4 and Debtor 2 onty CQ Student loans
UF At least one of the debtors and another LI Cbfigations arising cit of a separation agreement ar divorce that
1 check if this claim is for a community debt you did not repart as priority claims
CJ debits to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? i other. Specity LIGHT BILL VARIES
a No
C} ves
4.14] 9740 g 40.00
FARMERS LIFE INSURANCE Last 4 digits of account number ff oo
Nonpriority Creditors Name =~
PO BOX 894728 When was the debt incurred? 10/08/2014
Nurnber Street
As of the d le, the clairn is: Check all th .
LOS ANGELES CA 90189 @ date you file, the claim at apply
Gily State BP Code CD Contingent
C2 unliquidated
Who incurred the debt? Check one. Q Dispyted

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bd Debtor + only

CY pebter 2 only

C] Debtor ¢ and Debtor 2 only

CI At teast one of the debtors and another

Ld Check if this claim is for a community debt
Is the claim subject to offset?

if No
(3 ves

Type of NONPRIORITY unsecured claim:

C2 Student toans

Q] Obligations arising out of a separation agreement or divorce that
you did not report as prierity claims

CJ Debts to pension or profit-sharing plans, and other similar debts

@ ote. Specty DAUGHTERS LIFE INS.

Debtor 1

CHERYL ANN

GUSTAFSON

Firat Name Middle Neme

Last Name

Case number gr snowa,

Ss «-- NONPRIORITY Unsecured Claims — Continuation Page

After isting any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Tetat claim.
5238
b.18 NEW MEXICO GAS CO Last 4 digits of account number 5 35.00
Nonprictty Crediter’s Name
POB 27885 When was the debt Incurred? oie 993
Number Sweet As of the date you file, the claim is: Check ait that apply
ABQ NM 87125 , .
City Stale ZIP Code CY contingent
C2) unliquidated
Who incurred the debt? Check ons. Q Disputed
is Debtor 1 only
© Debtar 2 onty Type of NONPRIORITY unsecured claim:
C3 Debtor 1 anc Dabtor 2 onty (2 Student loans
C1 At least one of the debtors and enother ©) Obligations arising out of a separation agreement or divorce that
CJ Check if this claim is for a community debt Q you did not repart as priority claims
. Debis to pension or profitsharing plans, anc other similar debts
is the claim subject to offset? C& other. Specify MONTHLY UTILITY VARIES
a No
CI ves
16
t-16 AMAZON PRIME Last 4 digits of account number 7643 _ 75.00
Nonpriority Crediter’s Name
Number Sirest
As of the date you file, the ciaim is: Check all that apply.
SEATILE WA 98109
City Stata ZIP Gode LO Congngent
LJ Unliquidated
Who incurred the debt? Check one. GO Disputed
C& Debtor 1 only
C) Debtor 2 onty Type of NONPRIORITY unsecured claim:
(J Debtor 1 and Debtor 2 only (J student loans
C1 At least one of the debtors and another (© obiigations arising out of a separation agreement ot divorce that
og hs oe . you did not report as priority clairns
O Check if this claim is for a community debt CY Debts to pension or profit-sharing plans, and other similar debts
is the claim subject to offset? ® other. Specty FOOD CLEANING SUPPLIES
A no AND PERSONAL ITEMS
CD ves
AT 19:58
be HP INSTANT INK Last 4 digits of account number “P20 °
Nonprority Grediiors Neme
4501 PAGE MILL ROAD When was the debt incurred? _ 12/4/2017
PA ALO ALTO CA 94304 As of the date you file, the claim is: Check all that apply.
city State ZIP Cade OQ Contingent
QO Unliquidated
Who incurred the debt? Check one. ol Disputed
I debtor 4 only -
(3 bebtor 2 only Type of NONPRIORITY unsecured claim:

(J Debtor 4 and Debtor 2 only

(CQ At least one of the debtors and another

(3 Check if this clains is for a community debt
ts the claim subject to offset?

No
LI ves

(2 Student loans

QO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
LI Dabts to pension of profit-sharing plans, and other similar debts

OX otter. Specify, MONTHLY PRINTER | NK

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Debtor t

CHERYL ANN

GUSTAFSON

First Name Maddie Name

Last Name

Case number iv krowal

Your NONPRIORITY Unsecured Glaims ~~ Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

Total-ciaim .
1.18
NUSENDA FCU Last 4 digits of account number O767 , 5072.00
Nonpriotity Creditors Name Alt 6/20 4 g
4100 PAN AMERICAN FWY NE When was the debtincurred? 0.
Number Street
if d fle, the clainn is: Check all th ly.
ALBUQUERQUE NM 87107 As of the date you file, the claim is: Check all that apply.
ery State iP Code 1 Contingent
 Unsaquiaatea
Who incurred the debt? Check one. (9 Disputed
Debtor 7 only
(3 Debtor 2 only Type of NONPRIORITY unsecured claim:
C] Bebtor 1 and Debtor 2 only OO student loans
Cy At ieast one af the debiors and another LL] Obfgations arising out of a separation agreement or divorce that
og eae ag . you did not report as priority claims
J Check if this claim is for a community debt G2 Debts to pension or profitsharing plans, and other similar debts
ts the claim subject to offset? Other. Specify, CREDIT CARD
i No
3 ves
19}
i. BANK OF AMERICA Last 4 digits of account number 7874 _ oe $ 841.00 :
‘ Nonpriority Creditors Name
POB 982238 When was the debt incurred? _ 12/23/2015
eT PASO TX 79998 As of the date you file, the claim is: Check all that apply.
City Stale ZIP Code (1 Contingent
OQ Untiquidated
Who incurred the debt? Check one. (2 disputed
RF Debtor 1 only
CJ Pebtor 2 only Type of NONPRIORITY unsecured claim:
(2 Debtor 4 and Debtor 2 only (CO Student loans
C} At least one of the debtors and another CJ Obtgations arising out of e separation agreement or divorce that
gant wy ; you did not report as priority claims
(2 Check if this claim is for a community dett CI Debts to pension or profit-eharing plans, and other similar debts
is the claim subject to offset? Other. Specily CREDIT CARD
a No
C3 ves
i &
4.20 0028 3 2187.00
CCS/FIRST NATIONAL BAN Last 4 digits of account number —
Nonprority Greditar’s Name
500 E GOTH STN When was the debt incurred? 3/3/2012
“SIOUX FAL FALLS SD 57104 As of the date you file, the claim is: Check all that apply.
oy State ZiP Code Q) Contingent
C1 Untiquidated
Who incurred the debt? Check one. Q Disputed
Qi pebtor 4 only '
{9 Debtor 2 only Type of NONPRIORITY unsecured claim: .

(J Debtor 71 and Debtor 2 only

(I At feast one of the debtors and another

UE Check if this claim is for a community debt
Is the claim subject to offset?

KI No
(2 Yes

(2 Student toans

g Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

EJ Debts to pension or profit-sharing plans, and other similar debts

% otner. Specify CREDIT CARD

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oebtor? CHERYL ANN

Fist Name Middle Narne Last Namne

GUSTAFSON

Case number (tsnown}

ee «-. NONPRIORITY Unsecured Claims — Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

21
bay DSRM NATIONAL BANK/ VALERO

Nonptiatity Creditors Name

7201 CANYON DR
Number Streat

—AMARILLO ™ 7or140
City State AIF Cade
Who incurred the debt? Check one.

49 Debtor + only

CI Debtor 2 only

(J Debtor 4 and Debtor 2 onty

CI At least one of the debtors agd another

CJ Check if this clainvis for a community debt
Is the claim subject to offset?

0 No
C] ves

Last 4 digits of account number 0000 232.00

ee $

When was the debt incurred? 3/29/2010

As of the date you file, the claim is: Check all that apply.

Q} contingent
0 untiquidated

_ OF disputed

Type of NONPRIORITY unsecured claim:

C¥ saudent toans

Ql obligations anising out of a separation agreement or divorce that
you did not report as priority claims

(J Debts to pension or profit-sharing plans, and other similar debts

® otner. speci, CHARGE ACCT

$22| INDIGO - CELTIC BANK

Nonatiorily Creditors Name

POB 4499
Number Street

BEAVERTON OR 97076
City State ZIP Code

Who incurred the debt? Check one,

& pebtor 1 only

Debtor 2 only

(2 Debtor 1 and Debtor 2 only

(2 At feast one of the debtors and another

CJ Gheck if this claim is for a community debt
Is the claim subject to offset?

8 No
(9 Yes

Last 4 digits of account number _ 5623 $ 429.00 |

When was the debt incurred? 12/31/21

As of the date you file, the claim is: Check all that apply.

(1 contingent
CO unliquidated
CJ Disputed

Type of NONPRIORITY unsecured claim:

C) Student loans

QO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

O Debts to pension or profit-sharing plans, ard other sirnilar debts

XY otner. Specty CREDIT CARD

#.23| MISSION LANE TAB BANK

Nonfriority Creditors Name
101 2ND STREET SUITE 350

Number Siret
SAN FRANCISCO CA 94105

City State ZIP Code

Who incurred the debt? Check one.

EF pebter 4 only

CJ Debtor 2 only

LJ Debtor 1 and Debtor 2 only

UF Atleast one of the debtors and another

{J Check # this claim is for a community debt
is the claim subject fo offset?

Bi no

Cl ves

7999.00
Last 4 digits of account number 6608 _ §

When was the debt incurred? AGI2017

As of the date you file, the claim is: Check all that apply.

Q Gontingent
CI Untiquidated
(I Disputed

Type of NONPRIORITY unsecured claim: -

CE Student loans

CJ obligations arising out of a separation agreement or divorce that
you did not report as priority claims 1

CI Rebis to pension oF profit-sharing plans, and other similar debts

BD oiner. Specity CREDIT CARD

Official eonnseere4-10779-|7 Doc A bhedule Bik: Chedidets Giro FURR Sns 16:00:48 Page 9 of 20 page 2 of 29.
Debtor 1 CHERYL ANN

GUSTAFSON

Fist Name Mikidle Name Last Maire

Case number ttinewn)

Your NONPRIORITY Unsecured Claims — Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

Total chain
.24
24 SYNCB Q CARD Last 4 digits of account number O45 -3257.00
: Nonpriority Creditors Name
POB 71782 When was the debt incurred? 3/10/2012
Nursber Streat
f file, Jaim is: Check ail that apply.
PHILADELPHIA PA 19176 As of the date you file, the claim is: Che apply
Gity Stats @P Code L2 Contingent
OO Untiquidated
Who incurred the debt? Check one. QO Disputed
@& Debtor 4 only
[J Debtor 2 only Type of NONPRIORITY unsecured claim:
CY Debtor 1 and Debtor 2 only C2 student loans
O} Atleast one of the debtors and another LJ Obkgations arising cut of a separation agreement or divorce that
on gins oe . you did not report as priority claims
C] Check if this claim is for a community debt Ci Debts to pension or profit sharing plans, and other similar debts
is the claim subject to offset? @ Other. Specify CREDIT CARD
i No
J Yes
4.2
428 PROGRESSIVE DIRECT INSUR CO Last Adigits of account number 1958 ; 237.91
priotity Creditors | / Oo
"300 WILSON MILLS RD When was the debt incurred? _ 8/12/2024
umcer Streat : + .
MAYFIELD VILLAGE OH 44143 As of the date you fils, the claim is: Check all thal apply.
City State ZIP Code (2 contingent
CQ unliquidated
Who incurred the debt? Check one. {J Disputed
) Debtor 4 only
ED pebtor 2 only Type of NONPRIORITY unsecured claim:
(J Debtor t and Debtor 2 orily CJ student teans
C1 Atleast one of the debtors and another CJ Obtigations arising out of a separation agreement or divorce that
te pt ag ; you did not report as priority claims
1 Check if this claim is for a community debt CI debts to pension or profit-sharing plans, and other sirnilar debts
Is the claim subject to offeet? OF other. Specty_ INSURANCE
4 No
(I ves
4.26] ,
Credit One Bank Last 4 digits of account number _ 9338 ee $ 844.00 :
: Nonariorty Creditors Name 9/24/2018
POB 98873 When was the debtincurred? 9" AS ES
Number Street
As of the date you file, the claim is: Check alt that apply.
Las Vegas NV 89113
Sily State 2IP Code CA Contingert
{2 Uniiquidated
Who incurred the debt? Check ane. C8 Disputed
(F Debtor ¢ onty ,
(J Debtor 2 only Type of NONPRIORITY unsecured clain: .

(3 Debtor 1 and Debtor 2 only
(3 At east one of the debtors and another
(i Check if this claim is for a community debt

is the claim subject to offset?

& No
CI Yes

C3 Student loans

Q Gbtigations arising out of a separation agreement or divorce that
you did not report as priority claims

{J Debts to pension or profit-sharing plans, and other similar debts

other, Specify. Credit Card

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Debtor 1

CHERYL ANN

GUSTAFSON

Pingt Nate Middle Name

Last Name

Case number (tsnown)

Your NONPRIORITY Unsecured Claims — Continuation Page

. After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

Total claim. .
'-27| THE BANK OF MISSOURI - EMBLEM Last 4 digits of account number 434 , 874.00
Nonprtority Creditar's Name
960 BISHOP AVE _ When was the debt incurred? 1/16/2020
N ROLLA Street MO 65401 As of the date you file, the claim is: Check alt that apply.
Gity Slate ZIP Code O contingent
O untiquidated
Who incurred the debt? Check one. Q Disputed
ot Debtor 1 only ‘
[£3 Debtor 2 only Type of NONPRIORITY unsecured claim:
[1] Debtor 1 and Debtor 2 onty CO student ioans
(7 At teast one of the debtors and another (CY Obligations arising out of a separation agreement er divorce that
ok ght, lent you did not report as priority claims
QO Check if this claim is for a community debt (Debts to pension or profit-sharing plans, and other similar debis
is the claim subject to offset? other. Specify, CREDIT CARD
A No
Cl ves
.28
$28] SYNCB LOWES Last 4 digits of account number 7406 ee $ _ 2611.00 -
Nonprlority Creditors Name
4000 LOWES BLVD When was the debt incurred? _ 1/28/2015
Number Street “ can tee
MOORESVILLE NC 28117 As of the date you file, the claim is: Check all that apply.
City Stale ZIP Code LI contingent
al Unliquidated
Who incurred the debt? Check one. Q Disputed
Debtor 1 only
CJ debtor 2 only Type of NONPRIORITY unsecured claim:
(J Debtor 1 and Debtor 2 only student loans
fd At least one of the debtors and another (2 obligations arising out of a separation agreement or divorce that
se abt ta . you did not report as priority claims
C) Check if this claim is for a community debt C2 pevis to pension or profit-sharing plans, and ofher similar debts
is the claim subject to offset? CK other. Specity CREDIT CARD
@ No
ves
.29 $3178.77
29] SANTANDER CONSUMER USA Last 4 digits of account number #8 1000 _ Sn
Nanprioniy Creditor’s Na °
POR 961 > 45 ° When was the debt incurred? 2/15/2021
Number Street ae
FORT WORTH ™ 76161 As of the date you file, the claim is: Check all that apply.
City Sule AIP Code C1 Contingent
Untiguidated
Who incutted the debt? Check one. QW Disputed
8 Debtor 1 only .
C} Debtor 2 only Type of NONPRIORITY unsecured claim: -

() Debtor 1 and Debtor 2 only
{J At least one of the debtors and another

(] Cheek if this claim is for a community debt

is the claim subject to offset?
@ No

L] Yes

(1 Student loans

Q Obligations arising out of a separation agreement of divorce that
you did not report as priority claims '

( nents to pension or profit-sharing plans, and other similar debis

OF omer. Specity CREDIT CARD

onticial PnP RBERT-10779-|7 DOC 1geneii PEO cleaner whole Unchddddd cain 16:00:48 Page 11 Of 20 page 11 ¢ 20
Debtor 1

CHERYL ANN

GUSTAFSON

First Name Miidle Name

Last Nama

Case number i known)

Your NONPRIORITY Unsecured Claims — Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth,

Fetal. claim
BLANK
ee Last 4 digits of account number _ _ 5 a
Nenoriadt Crediirrs Nama —
. . When was the debt incurred?
Nur ee *
umber et As of the date you file, the claim is: Check all that apply.
cy State AP Code Cd Contingent
: CI unliquidated
Who incurred the debt? Check one,  bisputed
2 Debtor 1 only
(3 pebtor 2 onty Type of NONPRIORITY unsecured claim:
(J Debtor 1 and Debtor 2 only (I student loans
OI At least one of the debtors and another (J Obligations arising out of a separation agreement or divorce that
CY cheek if this claim is for a community debt Oe dic not report as priority claims _
: Debts to pension or profit-charine mans. ari athar similar debts
Is the claim subject to offset? iad Other. Specify : . .
I No
QO ves
H39 SYNCHRONY BANK/WALMART Last 4 digits of account number 7038000 3 971.00
Nonpriority Creditors Nate
4125 WINDWARD PLAZA When was the debt incurreag 12/18/2011
Number 5 ,
“ALPH ARETTA GA 30005 As of the date you file, the claim is: Check all that apply.
City State ZIP Code C2 contingent
fi Unfiquidated
Who incurred the debt? Check one. QO Disputed
$2 Debtor + only
CY debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Gebtor 2 only (2 student loans
At least one of the debtors and another QO Obligations arising aut of a separation agreement ar divorce that
se abt oe 4 you did not report as prioiy clairs
k i
Li Check if this efaim is for a community debt CI pebts io pension of profit-sharing plans, and other similar debts
Is the claim subject to offset? KE other. Specify CHARGE CARD
ia No
CI ves
31 1408.00 |
31) RST PREMIER BANK Last 4 digits of account number (29> Se
Nonpromy Greditors Name.
601 S MINNESOTA AVE When was the debt incurred? _Af20/2018
n .
om IOUX FALLS sD 57104 As of the date you file, the claim is: Check all ihat apply.
City State ZIP Code UL) Cantingent
C) Untiquidated
Who incurred the debi? Check one. 2 pisputed

3 Debtor 1 only

C1 pebtor 2 only

Debtor 1 and Debtor 2 only

At least one of the debtors and another

L} check if this claim is for a community debt

ts the claim subject to offset?
No

(2 ves

Type of NONPRIORITY unsecured claim: -

(1 Student inans
ai Obligations arising out of a separation agreement or divorce that
you did not repert as priority claims 1

{2 Debts to pension or profit-sharing plans, and other similar debts
& other. Specry CREDIT CARD

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CHERYL ANN

Debtor 1

GUSTAFSON

First Name Middle Nante Last Name

Case number t¢known)

Your NONPRIORITY Unsecured Claims ~ Continuation Page

. After sting any entries on this page, number them beginning with 44, followed by 4.5, and so forth.

- Total clair.
A.32
SYNCB PAYPAL Last 4 digits of account number _&701 oe 1751.00
Nonpriorty Greditor’s Name . 1/28/2015
Ti? LONGRIDGE RD When was the debt incurred?
Number Streat
As of the date you fife, the claim is: Check aff that apply.
STAMFORD CT 06902
City State @P Code O Contingent
CE untiquidated
Who incurred the debt? Check one. 2) disputed
LX Debtor 4 only :
{J Debtor 2 only Type of NONPRIORITY unsecured claim:
(9 Debtor 4 and Debtor 2 onty CE student loans
(9 At least one of the dablors and another U Obligations arising out of a separation agreement or divora that
: . : you did not report as priority claims
Q) Cheek i this claim is for a community debt (2 ebis to pansion or profit-sharing plans, ahd other similar debts
Is the claim subject to offset? EI other. Specity CREDIT dD.
a No
J ves
| | ’ BLANK Last ddigits ofaccount number $
, Neo atioriny CO" 's Name
. When was the debt incurred?
Nunsber “eat As of the date you fife, the claim is: Check all that apply.
ay , Slats ZiP Gods CJ contingent
Uniiquidated
Cc
Who incurred the debt? Check one. RI Disputed
lus Debtor 1 only
(2 Debtor 2 only Type of NONPRIORITY unsecured claim:
(J Debior 1 and Debtor 2 only (Student inans
OJ At least one of the debtors and another J Obligations arising out of a separation agreement or divorce that
oe ght ss . you did not report as priority claims
(J Check if this claim is for a community debt (2 Debts to pension ~ n= ~ing pi i6 and ather similar debts
Is the claim subject to offset? CK Other. Specity_§
id No
C3 ves
33) 606.00
b.39 THE BANK OF MISSQURI MILESTONE Last 4digits of account number S602 5
Nonitionty Creditors Namie 1/19/2020
960 BISHOP AVE ce

Sireet
65401

iP Code

Number
ROLLA MO

City State

Who incurred the debt? Check one.

&? pebtor 1 only

(J debtor 2 only

(J Debtor 7 and Debtor 2 only

Gl At least one of the debtors and anather

CJ Check if this claim is for a community debt
is the claim subject to offset?

wy Ne
UL] Yes

When was the debi incurred?

As of the date you file, the claim is: Check ail that apply.

a Contingent
C1 Untiquidated
© Disputed

Type of NONPRIORITY unsecured claim: .

OF student toans
Q Obligations arising aut of a separation agreement or divorce that
you did nat report as priority claims '

1 depts to pension or profit-sharing plans, and other similar debts
% other. Spec, CREDIT CARD

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Debtor 1

CHERYL. ANN

GUSTAFSON

First Naze Middle Name

East Name

Case number qr inowa),

Your NONPRIORITY Unsecured Claims — Continuation Page

. After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim
4.34
KOHLS/CAPITAL ONE Last 4 digits of account number 8396 _ , 99.00
Nonpriortty Creditors Name
POB 3115 When was the debt incurred? 4/22/2018
Number Street
As of the dat file, the claim is: Check all that apply.
MILWAUKEE WI 53201 Fe YO Ae ENG era eNOS ENE SPO
tity State ZIP Code (4 Contingent
Uniiquidated
Who incurred the debt? Chack sne. Disputed
& nentor 4 only
C3 pebtor 2 only Type of NONPRIORITY unsecured claim:
(Y Dentor 1 and Debtor 2 anly (student toans ‘
(2 At least one of the debtors and another QJ Obligations arising out of a separation agreement or divorce that
a abet, we . you did nat report as priority claims
U] Check if this claim is for a community debt CA Dents to pension or profit-sharing plans, and other similar debts
is the claim subject to offset? & other. Specify CHARGE ACCT
i No
OC) ves
35) 0359
H | SYNCB/OLD NAVY Last4 digits of account number O29 , 705.00
: Nonpriacty Greditors Name 7/10/2011
POB 965005 When was the debt incurred?
MOREL ANDO FL 378968 As of the date you file, the claim is: Check all that apply.
City State ZIP Coda CJ Contingent
CO uniiquidated
Whe incurred the debt? Check one, {3 pisputed
better 4 onty
CI Debtor 2 onty Type of NONPRIORITY unsecured claim:
(J Debtor 1 and Debtor 2 anty {3 Student loans
CD At least one of the debtors and another t} Obligations arising out of a separalion agreement or divorce that
se abe + . you did not report as priority claims
CY Check if this claim is for a community debt {) Debts to pension or profit-sharing plans, and other similar debts
Is the claim sithject to offset? Other. Specity, CHARGE CARD
a No
Cl ves
.36 SYN 1917 7
YNCB AMAZON : Last 4 digits of account number _ 5697.00 |
Nonprotity Creditors Name 40/19/2 ee
777 LONGRIDGE RD When was the debt incurred? 015
Number Straet
STAMFORD CT 06902 As of the date you file, the claim is: Check all that apply.
City State IP Code 1 contingent
Who incurred the debt? Check one. a Uniquidates
1) disputed
I Debtor 1 oniy
OC Debtor 2 only Type of NONPRIORITY unsecured claim: °

LI Debtor 1 and Debtor 2 only
(I At teast one of the debtors and another

(2 Check if this claim is for a community debt

is the claim subject to offset?
No
GI ves

CF student loans

3 Obligations arising out of a separation agreement or diverge that
you did not report as priority claims

( nebts te pension of profit-sharing plans, and other similar debts
@ other. Speciy CREDIT CARD _.

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CHERYL

Fest Name

ANN

Middle Narge Lawl Name

Debtor 1 GUSTAFSON

Case muamber «aroun,

ZUEHe List Others to Be Notified About a Debt That You Already Listed

& Use this page only If you have others te be notified about your bankruptey, for a debt that you atready fisted in Parts 4 or 2. For
example, If 4 collection agency is trying to collect from you for a debt you owe to someone elsa, fist the original creditor in Parts 1 or
2, then list the collection agency here. Similarly, if you have more fran one creditor for any of the debts that you Asted in Parts 4 or 2, list the
additional creditors here, If you do not have additional persons to be notified for any debts in Parts 7 or 2, do not fil_owt or submit this page.

MIDLAND CREDIT MGMT so On which entry in Part ¢ or Part 2 did you Hst the original creditor?

Name
350 DE LA REINA.STE 100 Line 4.5 of (Cheek one: Ob Pant 7: Creditors with Priority Unsecured Claims
Mamber Sire Pact 2: Creditors with Nonpriority Unsecured Claims
~SASLDIEGO CA 9210s" Last 4 digits of account number 9895 eee
ei ae 26 Cone OO -
MIDLAND CREDIT MGMT On which entry in Part 1 or Part 2 did you list the original creditor?
Narte
350 DE LA REINA, STE 100 tine 4-28 of (Check one}: O Part 1: Creditors with Priorily Unsecured Claims
Number Steet 1 fF Part 2: Creditors with Nonprlority Unsecured
‘ Claims
SAN DIEGO CA 92108 Last 4 digits of account number _ 7 A oO &
oy Sterbe FAP te
CREDIT CONTROL, LLC On which entry in Part 1 or Part 2 did you list the original creditor?
Mama
3300 RIDER TRAIL 8, STE 500 tine4.35 of {Check one C] Part 1: Creditors with Priority Unsectired Claims
Number, Svea @ Part 2: Creditors with Nonpriorily Linsecured
Claims
EARTH CITY MO 63046 Last 4 digits af account number 0 3 5 9
City State 2iP Gade . . Cr
MIDLAND CREDIT MGMT On which entry in Part 1 or Part 2 did you list the original creditor?
Name
350 DE LA REINA, STE 100 tine4-32 of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street {Wf Part 2: Craditors with Nonpriority Unsecured
Claims
SAN DIEGO CA 92108 50% 6 7 1
ae sce Si Eee Last 4 digits of account number “oF OME

RESURGENT RECEIVABLES LLC
Rania

On which entry In Part 1 or Part 2 did you fist the originaf creditor?

POB 10497_. tine4-26 of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Humber Sireet 4k Part 2: Creditors with Nonprionity Unsecured
Claims
“GREENVILLE Sc 29603" . 9338
. : Last 4 digits of acceunt number -
_ Ba a Se , .
Midland Credit Mgmt Inc On which entry in Part 1 or Part 2 did you list the original creditor?
Newne . .
320 East Big Beaver Rd tine 4-24 of (Check one} (2 Part 4: Greditors with Paority Unsecured Claims
Number Sima CF Part 2: Creditors with Nonpriorily Unsecured
Claims —
Broy MI 48083 Last 4 digits of account number 4849 :
wa . _—  Onwhict entry in Part 4 or Part 2 did you list the original creditor?
. BLANK oo
. - Line of (Check oney, O Part 1: Craditors with Priority Unsecured Ciaime
Number Sweet C1 Pan 2: Creditors with Nenpriority Unsecured
— —— Claims .
By | econo ee noone SPSS Last 4 digits of account number 0

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Schedule E/F; Creditors Who Have Unsecured Claims page! 5 o¢ 20

Doc 14 Filed 07/31/24 Entered 07/31/24 16:00:48 Page 15 of 20
CHERYL

First Naene

ANN

Middle Name

Debtor 4 GUSTAFSON

Case number cf monn:

Last Name

List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others fo be notified about your bankruptcy, for a debt that you already listed in Parts 4 or 2. For
example, if a collection agency is trying to collect from you for a debt you owe to someone alse, fist the original creditor in Parts 4 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 4 or 2, list the
additional creditors here, If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

MIDLAND CREDIT MGMT

Name

350 DE LA REINA, STE 7100

On which entry in Part 1 or Part 2 did you list the criginal creditor?

Line 4.33 of (Check one). OF Part 1: Creditors with Priority Unsecured Claims

Number Sirset @ Part 2: Creditors with Nonpriority Unsecured Claims
igits of tnumber 6 6 O 2
SAN DIEGO CA 92108 Last 4 digits of account nu YM
City State ZIP Code
JEFFERSON CAPITAL On which entry in Part 1 or Part 2 did you list the original creditor?
Name
200 14TH AV Line 4.27 of (Check one): (J Part 1: Creditors with Priority Unsecured Claims
Number Sirect & Part 2: Creditors with Nonpriority Unsecured
‘ Claims
& SARTELL MN 56377 Last 4 digits of account number TF A 3 a
Chiy State ZIP Code
Conrise Credit Services nc On which entry in Part 1 or Part 2 did you list the original creditor?
Name
POB 9004 Line 4.19 of (Check one}: 1 Part 1: Creditars with Priority Unsecured Claims
Number, Streal () Part 2: Creditors with Nonpriority Unsecured
Claims
Melville NY 11747 Last 4 digits of account number T7874
Cily State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name —e
BLANK ' Line of (Check one): Ga Part 1: Creditors with Priority Unsecured Claims
Number “Straei (J Part 2: Creditors with Nonpriority Unsecured
Claims
anni | sete . . _ Last 4 digits of account number ___ _
City Stale ZIP Code
Concora Credit On which entry in Part 1 or Part 2 did you list the original creditor?
Name
POB 4477 Line 4.7 of (Check one). Q Part 1: Creditors with Priority Unsecured Claims
Number Stree! (1 Part 2: Creditors with Nonpriority Unsecured
Clairns
Beaverton OR 97076 Last 4 digits of account number 3900 - __.
NY oc ec et ge es ee yen RAE .. ZIP Code Coo ee Loe .
Concora Credit On which entry in Part 1 or Part 2 did you list the original creditor?
Name
POB 4477 Line 4:22 of (Check one}: C1) Part 1: Creditors with Priority Unsecured Claims
Number Sireal (] Part 2: Creditors with Nonpriority Unsecured
oot . Claims
Beaverton OR 97076 Lasi 4 digits of account number 2023 _ _. : °
City oe os State aiP Code _ —.
z ems LEC On which entry in Part 4 or Part 2 dic you fist the original creditor?
POR 11407 Line 4-27 of (Cheek one): 1 Part 1: Creditors with Priority Unsecured Claims
Number Steet Ci Part 2: Creditors with Nonpriority Unsecured
Claims
imi 35246 i 7431
irmingham AL 3 SIP Gode Last 4 digits of account number oe

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CHERYL ANN

First Nance Middle Name

Debtor f

GUSTAFSON

Case number ur kaw
Lasi Name

List Others to Be Notified About.a Debt That You Already Listed

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5, Use this page only if you have others te be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For

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example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Sirnilariy, H you have more than one creditor for any of the debts that yeu listed in Parts 1 or 2, list the
additional creditors here. If you do not have additional persons to be notified for any tebts in Parts 1 or 2, do not Hill out or submit this page.

BLANK

_ Name

Nonoey Sissi

ity Siaie a Gods”
RESURGENT CAPITAL SERVICE

Nama

PO BOX 10497

Number Sireel

GREENVILLE sc 26903
city State ZIP Code
CREDIT CORP

Name

121 W ELECTION RD, STE 200

Number, Steet

DRAPER UT 84020
City State ZIP Cade
HSBC Bank Nevada NA

Name

1411 N Town Center Dr

Number Stree!

Las Veyes NV 89144
City State ZIP Code

Caine & Weiner
Name

12005 Ford Rd Suite 300

Nurber Street

Dalla TX 75234
NY Funding LEC
ate
55 Beattie Place
Number Sueat
Greenville sc 29601
os cn tate, AP Geode
Surge cc
Narre
POB 3220
Number Seal
Buffalo NY. 14240

City State 2iP Cade

Last 4 digits of account number

On which entry in Part 1 or Part 2 did you list the original creditor?

Line of (Check one): (3 Part 4: Creditors with Priority Unsecured Claims

t 4 Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

On which entry in Part 4 or Part 2 did you list the original creditor?

Line 4.4 of (Check ona): GO Part 1: Creditors’with Priority Unsecured Claims

7 Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number A 4A 2 2

On which entry in Part 4 or Part 2 did you list the original creditor?

Line 4.36 of (Check one): 2 Part 1: Creditors with Priority Unsecured Claims

fi’ Part 2: Creditors with Nonprierity Unsecured
Glaims

Last 4 digits ofaccount number 1 9 7 7
On which entry in Part 4 or Part 2 did you list the original creditor?

Line 4.6 of (Check one): () Part 1: Creditors with Priority Unsecured Claims

i Part 2: Craditors with Nonpriority Unsecured
Claims

Last 4 digits of account number _A 759

On which entry in Part 1 oF Part 2 did you fist the original creditor?

Line 4.25 of (Check one}: CF Part 4: Creditors with Priority Unsecured Claims

i” Part 2: Creditors with Nonpriority Unsecured
Claims ,

1958
On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.26 of (Check one}: (1 Part 1: Creditors with Priority Unsecured Claims

MW Part 2: Creditors with Nonpriority Unsecured
Claims
9338
Last 4 digits of account number

On which entry in Part 1 or Part 2 did you list the originaf creditor?

tina 44 of {Check one). CF Part 4: Creditors with Priority Unsecured Claims

@ Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number 4422 —_

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Debtor 1 CHERYL ANN GUSTAFSON

Case number (renown
Fars: Name Middie Name Last Name

List Others to Be Notified About a Debt That You Already Listed

— —.
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 4 or 2. For

example, if a callection agency is trying to collect from you for a debt you owe to someone else, Hst the original creditor in Parts 1 or
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additional creditors here. if you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

CAPITAL MGMT SERVICES On which entry in Part 1 or Part 2 did you fist the original creditor?

Name

698 1/2 SOUTH OGDEN Line4.19 of (Check one): CE Part 1: Creditors with Priority Unsecured Claims
Number Street Wi Part 2: Creditors with Nonpriority Unsecured Claims
BUFFALO NY 44206 Last 4 digits of account number _ 7 8 tf 4A

City State

PORTFOLIO RECOVERY ASSOC, LLC

__ aiP Code

Name

120 CORPORATE BLVE, STE 100

Number Sireat
£

NORFOLK VA 23502

City State

PORTFOLIO RECOVERY ASSOC, LLC

2iP Code

Name

720 CORPORATE BLVE, STE 100

Number, Suysel

On which entry in Part 1 or Part 2 did you jist the original creditar?

tine 4.6 of (Check one &) Part 1: Creditors with Priority Unsecured Claims

@f Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number 4 7 5 3

hues Ot

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.8 of (Check one}. O Part 1: Creditors with Priority Unsecured Claims
MY Part 2: Creditors with Nonprionty Unsecured

Claims

NORFOLK VA 23502 Last 4 digits of account number _7 7 7 3

City State ZIP Code / . Con, Loe .

CHASE CARD SERVICES On which entry in Part 4 or Part 2 did you list the original creditor?

Name

PO BOX 6204 Line4.10_ of (Check one): O Part 1: Creditors with Priority Unsecured Claims

Number Street {iv Part 2: Creditors with Nonpriority Unsecured
Claims

CAROL STREAM HL 60197 Last 4 digits of account number _1 2 3 A

City State ZiP Gode

. BLANK ves On which entry in Part 1 or Part 2 did you list the original creditor?

Name
Line af (Check one): CO) Part 1: Creditors with Priority Linsecured Claims

Number Street RY Part 2: Creditors with Nonpriority Unsecured
Claims

ae : Last 4 digits ofaceount number

oo ee apc tare we eB AP CO eae ca ve a bo ee
BLANK Qa which entry in Part 1 or Part 2 did you list the original creditor?

Name
Line of (Check one}: 0) Part 4: Creditors with Priority Unsecured Claims

Number Sireet (J Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number ee .

Cy State AP Oe oo es wovtag ngunmunemate vumgqmapmneinng ge th tp eg ee

BLANK
4 On which entry in Part 1 or Part 2 did you list the original creditor?
are . . ‘

Line of (Check ane}. O Part 1: Creditors with Priority Unsecured Claims

Number Sweet O) Part 2: Creditors with Nanpriority Unsecured
Claims

ay sme SP Galo Last 4 digits of accountnumber

Official FopmAQEEM A.10779-/7 Doc 1SPheqURPCRFRSiigs Miho Hare HanecerpeLHING 16-00:48 Page 18 of 20Pase8or20.
Debtor1 CHERYL ANN GUSTAFSON

First Marne Middie Name Last Name

List Others to Be Notified About a Debt That You Already Listed

~ 5

Case number (if Aro

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
example, if a collection agency is trying to collect frora you for a dabt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

FIRST NATIONAL BANK CC On which entry in Part 1 or Part 2 did you list the original creditor?
Name
1500 S HIGHLINE AV , Line 4-20 of (Check onej: CJ Part 1: Creditors with Priority Unsecured Claims
Number Street Wf Part 2: Creditors with Nonpriority Linsecured Claims
Last 4 digits of account number * 0028
SOU FALLS SD 57104 ee ee
City Sate iP Code
FIRST NATIONAL COLLECT BUREAU On which entry in Part 1 or Part 2 did you list the original creditor?
Name
50 W LIBERTY ST, STE 250 Line 4-31 of (Check one): Q Part t: Creditors with Priority Unsecured Claims
Number Street 4 Part 2: Creditors with Nonpriorily Unsecured
‘ Claims
RENO NV 89501 Last 4 digits of account number 7 5 3 5 °
City State 2iP Code
BLAZE MASTERCRAD On which entry in Part 4 or Part 2 did you list the originat creditor?
Name
1500 S HIGHLINE AV Line 4.9 of (Check oney, O Part 1: Creditors with Priority Unsecured Claims
Number, —-Streei if Part 2: Creditors with Nonpriority Unsecured
Glaims
SOUIX FALLS sD O71? Last 4 digits of account number _9 3 8 SS
Cay State iP Code .
Capital One Walmart On which entry in Part 1 or Part 2 did you list the original creditor?
Name —
~ Line 4.30 of (Check one): £9 Part 1: Creditors with Priority Unsecured Claims
PoB 31293 en
Nursber Street & Pait 2: Creditors with Nonpriority Unsecured
Claims
Salt Lake City UT. 84131 Last 4 digits of account number 4030 —__
City “ Stale iP Code
On which entry in Part 1 or Patt 2 did you list the original creditor?
Nama
Line of (Check one): GQ Part 1: Crediters with Priority Unsecured Claims
Number Streel C} Part 2: Creditors with Nonprlority Unsecured
Claims
‘ Last 4 digifs of account number
AY ee Sate | AIP Code . oo, -.
On which entry in Part 1 or Part 2 did you list the original credifor?
Name .
Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Steet (} Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number
City woe State ZIP Code cnt ee ca os Le
< On which entry in Part 1 or Part 2 did you list the original creditor?
ane .
Line of (Check one): (1 Part 1: Creditors with Priority Unsecured Claims
Number Siset Q} Part 2: Creditors with Nonpriority Unsecured
Glairns
diy Bias FP Code Last 4 digits of account number ce cn

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pebtor1 CHERYL ANN GUSTAFSON Case number trknown

First Mame Middle Name Last Name

Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

Total claim
‘Total claims 6a. Bomestic support obligations 6a. $ 0.06
. from Part fb. Taxes and certain other debts you awe the 0.00
government 6b. & .
6c, Claims for death or personal injury while you were
intoxicated 6c. $ 0.00
6d, Other. Add all dther priority unsecured claims. 0.00
Write that amount here. Bd. +. .
6e. Total. Add lines 6a through 6d. Ge, 0.00
$
Total claim
Total claims ®f Student loans Bf. $ 0.00
: from Part 2 6g. Obligations arising out of a separation agreement
pe or divorce that you did not report as priority : 0.00
claims 6g. $ :
_ 6h, Debts to pension or profit-sharing plans, and other
similar debts Gh. g 0.00
6i. Other. Add all other nonpriority unsecured clans.
Write that amount here. 6. ts 44,767.00
6j. Total. Add lines 6f through 61. 6. : 44,767.00

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